                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                    Milwaukee Division

DANIEL MATTHEW VOORHEES
abo M/Y BROADWATER, and                                     CASE NO.
BROADWATER MARINE, LTD.

               Plaintiffs,

v.

ACE AMERICAN INSURANCE COMPANY,

            Defendant.
______________________________________________________________________________

                           DISCLOSURE STATEMENT
______________________________________________________________________________

               The undersigned, counsel for ACE American Insurance Company (“ACE”),

Defendant, furnishes the following list in compliance with Civil L.R. 7.1 and Fed. R. Civ. P. 7.1:

       1.      Pursuant to Civil L.R. 7.1(a)(1), Defendant’s full name is ACE American

Insurance Company.

       2.      Pursuant to Civil L.R. 7.1(a)(2), Defendant ACE submits that no parent

corporation or any publicly held corporation owns 10% or more of its stock.

       3.      Pursuant to Civil L.R. 7.1(a)(3), attorneys from the law firm of Bascom, Budish &

Ceman, S.C., will appear on behalf of this Defendant.

               Date: 8th day of October, 2015.

                                             By: s/ Timothy A. Bascom
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